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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY EMPLOYEES
 UNION, et al.

                        Plaintiffs,

        v.
                                                        Case No. 25-0381-ABJ
 RUSSELL VOUGHT, in his capacity as
 Acting Director of the Consumer Financial
 Protection Bureau, et al.

                        Defendants.


                        PLAINTIFFS’ MOTION FOR PRO HAC VICE
                         ADMISSION OF JENNIFER D. BENNETT

       Robert Friedman of Gupta Wessler LLP, a member in good standing in the bar of this

Court, respectfully moves for the admission pro hac vice of Jennifer D. Bennett for the limited

purpose of entering an appearance on behalf of Plaintiffs in the above-captioned case. In

support of this motion, undersigned counsel states as follows:

       X.      I am a member in good standing of the bar of this Court, and have entered my

appearance in the above-captioned matter.

       Y.      I move for admission pro hac vice of Jennifer D. Bennett of the law firm of Gupta

Wessler LLP to appear before this Court as co-counsel of record, and to participate in all

proceedings.

       Z.      As evidenced by the attached affidavit, Ms. Bennett is a member in good standing

of the bar of California, as well as others listed in the supporting papers; there are no disciplinary

proceedings pending against her as a member of the bar in any jurisdiction; no discipline has
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previously been imposed on her in any jurisdiction; and she is familiar with the local rules of this

Court.

         For the foregoing reasons, undersigned counsel respectfully requests that this Court grant

leave for Jennifer D. Bennett to appear before the Court in this matter pro hac vice.

                                                 Respectfully submitted,

Date: February 20, 2025                          /s/ Robert D. Friedman
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